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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


                                      )
PAUL J. MANAFORT, JR.,                )
                                      )
                   Plaintiff,         )
                                                       Civ. No. 1:18-CV-00011-ABJ
                                      )
              v.                      )
                                                       Judge Amy Berman Jackson
                                      )
UNITED STATES DEPARTMENT OF           )
JUSTICE, et al.,                      )
                                      )
                   Defendants.        )
                                      )




          PLAINITFF’S MEMORANDUM OF LAW IN OPPOSITION TO
                   DEFENDANTS’ MOTION TO DISMISS




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                                        INTRODUCTION

       This case concerns one of the core principles of our constitutional form of government—

political accountability. From the Nation’s founding, its laws were enforced by politically

accountable members of the Executive Branch. Following a disastrous, decades-long experiment

with prosecution by politically unaccountable “independent counsels,” Congress and the

Executive Branch returned us to the system of politically accountable law enforcement the

Framers had envisioned. The Ethics in Government Act of 1978, which had created the Office

of the Independent Counsel, was abolished. And while the Department of Justice (“DOJ”)

retained its authority to employ “special counsel” for particular matters, it established regulations

to ensure that politically accountable officials would remain responsible.             Under those

regulations, special counsel can be appointed only by politically accountable officers—the

Attorney General or Acting Attorney General. The authority granted in such appointments is

limited to specifically identified matters. And any expansion of the special counsel’s jurisdiction

beyond those specifically identified matters must be reviewed and authorized by a politically

accountable public official as well.

       This action challenges the appointment of Special Counsel Robert S. Mueller III as

beyond the authority granted by those regulations. Mr. Mueller was appointed to investigate

alleged coordination between the 2016 presidential campaign of Donald J. Trump and the

Russian government. But the Appointment Order added further authority to investigate “any

matters that arose or may arise directly from [that] investigation.” Compl. Ex. A (“Appointment

Order”), ¶ (b)(ii). Relying on that supposed authority, the Special Counsel has undertaken an

extensive investigation that goes well beyond any alleged coordination during the 2016

presidential campaign. Although Mr. Manafort served as President Trump’s campaign chairman

for six months in 2016, he is now being investigated for previously known business conduct that
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long preceded, and had no connection to, the 2016 presidential election. And nothing prevents

the Special Counsel from threatening Mr. Manafort with further investigations, in additional

jurisdictions. In fact, this suit was filed shortly after and in direct response to the Special

Counsel’s threats to bring additional charges against Mr. Manafort in venues outside the District

of Columbia. Those imminent threats cannot be denied.

       DOJ regulations do not permit the grant of unbounded, ex ante authority to investigate

collateral matters simply because they “may arise directly from” the authorized investigation.

DOJ regulations provide that, if the Special Counsel wishes to investigate matters beyond those

specifically identified in the original grant of jurisdiction, he “shall consult with the Attorney

General, who will determine whether to include the additional matters within the Special

Counsel’s jurisdiction or assign them elsewhere.” 28 C.F.R. § 600.4(b) (emphasis added). That

requirement is critical:   It ensures that important decisions regarding the scope of any

investigation remain in the hands of politically accountable officials. This action challenges the

relevant portion of the Appointment Order—authorizing pursuit of anything that arises from the

investigation—as ultra vires, and seeks to restrain the Special Counsel to his lawfully granted

authority under the DOJ’s own regulations.

       The government’s motion to dismiss is premised largely on the notion that this Court

lacks authority to issue relief that affects an ongoing federal criminal investigation. However,

under binding D.C. Circuit precedent, this Court has the authority to grant precisely the

prospective equitable relief requested here.     Contrary to the government’s assertions, Mr.

Manafort has no adequate legal remedy for the Special Counsel’s systemic assertion of ultra

vires authority against him. The government seeks to relegate Mr. Manafort to a game of

criminal-procedure whack-a-mole that wastes judicial resources; that cannot offer complete (or




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even adequate) relief; and that leaves him powerless in any effort to match the government’s

resources. Under Juluke v. Hodel, 811 F.2d 1553, 1558-59 (D.C. Cir. 1987), relief is appropriate

here.

                                        BACKGROUND

I.      LEGAL BACKGROUND

        A.     The Constitutional Principle of Accountability (and a Brief and Disastrous
               Departure)

        The Founders recognized that, “[i]n framing a government which is to be administered by

men over men, the great difficulty lies in this: you must first enable the government to control

the governed; and in the next place oblige it to control itself. A dependence on the people is, no

doubt, the primary control on the government; but experience has taught mankind the necessity

of auxiliary precautions.” The Federalist No. 51, at 322 (Hamilton) (Rossiter ed., 1961). One of

the most critical elements of that system is the “political accountability” of public officers, which

is “essential to our liberty and republican form of government.” Alden v. Maine, 527 U.S. 706,

751 (1999); see also Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 483

(2010) (“Since 1789, the Constitution has been understood to empower the President to keep

[public] officers accountable.”); Pearson v. Callahan, 555 U.S. 223, 231 (2009) (recognizing as

an “important interest[ ] . . . the need to hold public officials accountable when they exercise

power irresponsibly”).

        In 1978, Congress briefly set political accountability aside, enacting the now-infamous

independent counsel statute. Under that statute, lawyers from outside the Department of Justice

(“DOJ”) could be granted nearly unlimited prosecutorial authority to investigate highly sensitive

matters involving Executive Branch officials. See Ethics in Government Act of 1978, Pub. L.

No. 95-521, 92 Stat. 1824; Compl. ¶ 2. Kenneth Starr, arguably the most powerful independent



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counsel appointed under that statute, urged Congress to abandon the independent counsel project,

calling it a “structurally unsound” and “constitutionally dubious” effort “to cram a fourth branch

of government into [a] three-branch system.” The Future of the Independent Counsel Act:

Hearing Before the S. Comm. on Gov’t Affairs, 106th Cong. 425 (1999) (statement of Kenneth

W. Starr). And Attorney General Janet Reno made clear that “[i]t can’t get any worse.” Id. at

261 (testimony of Janet Reno, Att’y Gen. of the United States); see Compl. ¶ 5.

       The independent counsel statute expired in 1999 when Congress refused to reauthorize it,

expressing a “bipartisan judgment . . . that the Independent Counsel was a kind of constitutional

Frankenstein’s monster, which ought to be shoved firmly back into the ice from which it was

initially untombed.” Adrian Vermeule, Morrison v. Olson Is Bad Law, LAWFARE (June 9, 2017);

see Compl. ¶ 4. The statute created “unaccountable prosecutors wielding infinite resources

whenever there is a plausible allegation of a technical crime.” Gerard E. Lynch, The Problem

Isn’t in the Starrs But in a Misguided Law, WASH. POST, Feb. 22, 1998, at C3; see Compl. ¶ 3.

For that reason, the statute was “utter[ly] incompatib[le] . . . with our constitutional traditions.”

Morrison v. Olson, 487 U.S. 654, 709 (1988) (Scalia, J., dissenting); see Compl. ¶ 3. The

independent counsel statute has come to be viewed as a “disastrous failure.” Cass R. Sunstein,

Bad Incentives and Bad Institutions, 86 GEO. L.J. 2267, 2281, 2283 (1998).

       B.      The Justice Department’s Current Special Counsel Regulations

       As the independent counsel statute was set to lapse in 1999, Congress convened a

bipartisan project to thoroughly consider actions Congress and the Executive Branch might take

to guard against the abuses experienced under the independent counsel regime. See generally

Dick Thornburgh, Mark H. Tuohey III & Michael Davidson, Attorney General’s Special Counsel

Regulations, BROOKINGS (Sept. 15, 1999). In June 1999, after extensive consideration, the DOJ

promulgated regulations governing the Attorney General’s authority to appoint an outside


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“special counsel” to investigate matters that may present a conflict of interest for the DOJ or the

Executive Branch.      See 28 C.F.R. §§ 600.1-600.10 (the “Special Counsel Regulations”).

Although the regulations allow for the appointment of “special counsel” outside the DOJ to

investigate and prosecute certain matters, they impose limits on the scope of authority that may

be granted so as to ensure proper political accountability.

       For example, under the Special Counsel Regulations, a politically accountable federal

officer—the Attorney General—is responsible for determining whether to appoint a special

counsel.1   The scope of jurisdiction the Attorney General may grant, moreover, is strictly

circumscribed. To ensure that the special counsel does not become a roving commission, the

special counsel’s jurisdiction must be set forth in specific terms in the appointment order. Under

28 C.F.R. § 600.4(a), when granting “[o]riginal jurisdiction” to a special counsel, the Attorney

General must provide “a specific factual statement of the matter to be investigated.” Id.

(emphasis added). Section 600.4(a) provides that the power to investigate that matter also

includes power to address efforts to impede the investigation: The grant of original jurisdiction

“shall . . . include the authority to investigate and prosecute federal crimes committed in the

course of, and with intent to interfere with, the Special Counsel’s investigation.” Id.

       The Special Counsel Regulations separately address how special counsel may acquire

“additional jurisdiction” beyond the specific matter identified in the grant of “[o]riginal

jurisdiction.” See 28 C.F.R. § 600.4. In particular, § 600.4(b) provides that, “[i]f in the course of

his or her investigation the Special Counsel concludes that additional jurisdiction beyond that

specified in his or her original jurisdiction is necessary, . . . he or she shall consult with the


1
 Or, as here, “in cases in which the Attorney General is recused, the Acting Attorney General[ ]
will appoint a Special Counsel when he or she determines that criminal investigation of a person
or matter is warranted.” 28 C.F.R. § 600.1.


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Attorney General, who will determine whether to include the additional matters within the

Special Counsel’s jurisdiction or assign them elsewhere.”        28 C.F.R. § 600.4(b) (emphasis

added).        Thus, any “additional jurisdiction” beyond the special counsel’s “original

jurisdiction”—beyond the “specific factual statement of the matter to be investigated”—may be

granted by the Attorney General only after the special counsel consults with the Attorney

General and after the Attorney General determines to include those additional matters in the

special counsel’s jurisdiction.

          Those requirements serve a critical role. A central problem with the independent counsel

statute was that it provided essentially unlimited funding to conduct investigations that were

essentially unlimited in scope. The Special Counsel Regulations, by contrast, are specifically

designed to ensure political oversight over special counsels; to specify the scope of their original

jurisdiction; to prevent expansion of that jurisdiction except where authorized by politically

accountable officials; and to thereby avoid the overbearing pressures that result when

prosecutors, with virtually unlimited resources, focus on a singular target with no competing

priorities.

II.       THE EVENTS LEADING TO THE FILING OF THE COMPLAINT

          A.     The Appointment Order of May 17, 2017

          By early 2017, the DOJ revealed that it had been investigating allegations that the

presidential campaign of Donald J. Trump coordinated with the Russian government to influence

the outcome of the 2016 presidential election. Compl. ¶ 27. In March 2017, Attorney General

Jeff Sessions recused himself from the matter, making Deputy Attorney General Rod Rosenstein

the Acting Attorney General with respect to the investigation. Id. ¶¶ 28-29. The Acting Attorney

General soon decided that the DOJ should not proceed with the investigation itself. Id. ¶ 30.

Accordingly, on May 17, 2017, the Acting Attorney General issued the Appointment Order


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authorizing Mr. Mueller—then an attorney in private practice—as Special Counsel to conduct an

“investigation of the Russian government’s efforts to interfere in the 2016 presidential election.”

Appointment Order.

        Consistent with the requirements of the Special Counsel Regulations, Paragraphs (b)(i)

and (b)(iii) of the Appointment Order provide a “specific factual statement of the matter to be

investigated” under Mr. Mueller’s “[o]riginal jurisdiction.” 28 C.F.R. § 600.4(a). In particular,

Paragraph (b)(i) of the Appointment Order gives the Special Counsel original jurisdiction to

investigate “any links and/or coordination between the Russian government and individuals

associated with the campaign of President Donald Trump.”             Appointment Order ¶ (b)(i).

Consistent with DOJ regulations, Paragraph (b)(iii) gives the Special Counsel jurisdiction over

illegal attempts to obstruct his exercise of original jurisdiction: It authorizes him to pursue “any

other matters within the scope of 28 C.F.R. § 600.4(a),” including any perjury and obstruction of

justice committed in the course of the Special Counsel’s investigation. Appointment Order

¶ (b)(iii); see 28 C.F.R. § 600.4(a).

        Paragraph (b)(ii) of the Appointment Order, however, purports to grant the Special

Counsel further authority still. It states that he may also investigate and prosecute “any matters

that arose or may arise directly from the investigation.” Appointment Order ¶ (b)(ii) (emphasis

added). The Complaint alleges that the Acting Attorney General lacks authority to grant such

jurisdiction under the Special Counsel Regulations. Those regulations address cases in which the

special counsel finds additional matters, beyond the specific factual statement of the matters to

be investigated, that the special counsel wishes to address. See 28 C.F.R. § 600.4(b). The special

counsel must “consult with the Attorney General” to obtain that “additional jurisdiction.” Id.

And the Attorney General must “determine whether to include the additional matters within the




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Special Counsel’s jurisdiction or assign them elsewhere.” Id. Granting the Special Counsel ex

ante authority to pursue any matters that “arose or may arise directly from the investigation” is

inconsistent with those requirements. It omits the required consultation; it omits the Attorney

General’s issue-specific determination; and, with those, it omits the decision by a politically

accountable official that the regulations were designed to ensure.

       B.      The Special Counsel’s Investigation

       Following the Appointment Order, the Special Counsel turned his attention to Mr.

Manafort and decade-old business dealings entirely unmoored from any allegations of

coordination between the Russian government and the 2016 presidential campaign of Donald

Trump. Compl. ¶¶ 36-37. In particular, the Special Counsel focused on the involvement of Mr.

Manafort’s company in a political campaign in Ukraine that ended in 2014, Mr. Manafort’s bank

accounts and tax filings in 2006 through 2014, and the personal expenditures Mr. Manafort

allegedly made using funds earned from political consulting work he performed for a Ukrainian

public figure in 2006 through 2014. Id. ¶¶ 37-38. All of those matters predate the alleged

coordination with Russia, and Mr. Manafort’s brief 2016 involvement in the Trump campaign,

by years.

       In July 2017, the Special Counsel applied for, obtained, and caused to be executed a

search warrant of Mr. Manafort’s home in Alexandria, Virginia. Compl. ¶ 42. The Special

Counsel justified the search by asserting that the Appointment Order grants him jurisdiction and

authority to obtain materials that purportedly evidence potential tax and white-collar crimes

committed on or after January 1, 2006—more than a decade before the Trump presidential

campaign launched. Id. In August 2017, Mr. Mueller issued more than 100 subpoenas related to

Mr. Manafort, requesting records dating back to January 1, 2005. Id. Those actions all related to




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alleged dealings that had been widely known since at least 2007, when they were extensively

reported in the press. Id. ¶ 39.

       On October 27, 2017, the Special Counsel signed an indictment charging Mr. Manafort

and a business associate with offenses pertaining to business dealings that, with limited excep-

tions, predate President Trump’s campaign. Compl. ¶ 45. That criminal proceeding is currently

pending before this Court in United States v. Manafort, et al., No. 17-cr-201-ABJ (D.D.C.).

III.   THE COMPLAINT AND MOTION TO DISMISS

       On January 3, 2018, Mr. Manafort filed the present civil action. Count I alleges that the

Appointment Order is outside the DOJ’s and the Acting Attorney General’s authority under the

Special Counsel Regulations. Compl. ¶¶ 52-53. Count II alleges that the Special Counsel lacks

authority to investigate Mr. Manafort and initiate proceedings against him under Paragraph

(b)(ii) of the Appointment Order because that provision was not authorized by law, and because

the Special Counsel’s actions exceed the facial scope of jurisdiction set forth in the Appointment

Order in any event. Id. ¶¶ 62-63. The Complaint seeks to “set[ ] aside the Appointment Order”

in relevant part and “enjoin[ ] Mr. Mueller from investigating matters beyond the scope of the

grant of jurisdiction in the Appointment Order.” Compl. Prayer for Relief ¶¶ a, d.

       On February 2, 2018, the government filed a motion to dismiss the Complaint. The crux

of the government’s motion is that the Court may not address the Special Counsel’s authority

because doing so would interfere with an ongoing criminal matter. Gov’t Mem. 11-19. The

government further argues that Count I fails to state a claim under the APA because, among

other reasons, Mr. Manafort has an adequate remedy in the pending criminal proceeding. Id. at

19-28. Finally, the government argues that Count II fails to state a claim either under the

Declaratory Judgment Act or for non-statutory review of ultra vires action, because the




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Declaratory Judgment Act does not provide for judicial review, and the challenged conduct does

not constitute ultra vires action. Id. at 28-34.

                                    STANDARD OF REVIEW

       “At the motion-to-dismiss stage,” the Court “must accept all factual allegations in the

complaint as true.” NB ex rel. Peacock v. District of Columbia, 794 F.3d 31, 42 (D.C. Cir.

2015). “The complaint should not be dismissed unless [the] plaintiff [ ] can prove no set of facts

in support of [his] claim which would entitle [him] to relief. The complaint, moreover, is

construed liberally in the plaintiff [’s] favor.” Kowal v. MCI Commc’ns Corp., 16 F.3d 1271,

1276 (D.C. Cir. 1994). The plaintiff is entitled to “the benefit of all inferences that can be

derived from the facts alleged.” Id.

                                           ARGUMENT

       Having learned the consequences of granting prosecutorial authority without

corresponding political accountability, the DOJ promulgated Special Counsel Regulations that

limit the Attorney General’s authority to appoint and accord jurisdiction to special counsel.

Under those regulations, all appointments are made by a politically accountable official. They

are confined to specific matters set forth in an appointment order. And jurisdiction beyond those

specifically defined matters can be granted only following consultation with, and a decision by,

the Attorney General.

       The government does not deny that the Special Counsel’s “authority is subject to the

overall regulatory framework” set out in the Special Counsel Regulations. Gov’t Mem. 10

(quoting Office of Special Counsel, 64 Fed. Reg. 37,038, 37,040 (July 9, 1999)). That includes

the limits on the Special Counsel’s original jurisdiction, and the mandatory process for

expanding jurisdiction after the fact. Id. But the government argues that this Court cannot

address whether the Special Counsel has actually been granted lawful authority here—or is


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acting ultra vires—because doing so might “interfer[e] with ongoing criminal matters.” Id. at

16. That is incorrect. Federal courts may, in the interests of equity, issue equitable relief even if

it has a forward-looking impact on criminal prosecutions. See Juluke v. Hodel, 811 F.2d 1553,

1558-59 (D.C. Cir. 1987).

       The government’s argument, moreover, proceeds from the erroneous premise that “[t]he

clear object of Manafort’s civil suit is to interfere with his ongoing criminal prosecution.” Gov’t

Mem. 11. The Complaint seeks prospective relief: an order declaring invalid the ultra vires

Appointment Order and enjoining the Special Counsel’s future ultra vires exercise of authority

under that Order. Compl. Prayer for Relief ¶¶ a, d. That relief is critical given the incontro-

vertible threat of repeated prosecution in additional jurisdictions. For the same reason, the

government’s proposed alternative remedy—seeking to dismiss the currently pending

indictment—is not merely inadequate relief; it is tantamount to no relief at all. Finally, Mr.

Manafort does not seek retroactive relief in this action through dismissal of the indictment

against him. See Gov’t Mem. 18 (“Manafort’s counsel previously suggested that this civil

lawsuit ‘does not ask for dismissal of the indictment.’ ” ).2 The government’s arguments about

interfering with a pending criminal proceeding provide no basis to dismiss this suit.           The

government’s remaining arguments likewise fail.

I.     THE COMPLAINT PROPERLY SEEKS TO SET ASIDE                  AN   INVALID   AND   ULTRA VIRES
       APPOINTMENT ORDER

       The government’s primary argument is that, under Younger v. Harris, 401 U.S. 37

(1971), “civil courts cannot enjoin criminal prosecutions.” Gov’t Mem. 11. That argument is


2
  To the extent the Complaint can be read to seek dismissal of the indictment in the pending
criminal case in this Court, Mr. Manafort expressly waives any such claim for relief in this civil
case. Mr. Manafort is willing to amend the Complaint as necessary to clarify the scope of the
relief sought.


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misplaced. The D.C. Circuit has long recognized that federal courts may award declaratory and

injunctive relief on legal issues, even where they may affect future federal criminal

prosecutions, so long as equity so demands. Equity demands that outcome here.

        A.     This Court Has Authority To Grant Specific Relief That May Affect
               Prospective Prosecutions

        The government begins its analysis with Deaver v. Seymour, 822 F.2d 66 (D.C. Cir.

1987), and a corresponding analysis of Younger abstention. But the analysis should begin with

Deaver’s predecessor, Juluke v. Hodel, 811 F.2d 1553 (D.C. Cir. 1987).

        1.     Juluke arose out of the arrests of protestors conducting a sit-in in front of the

White House. (The protestors sought to bring attention to the federal government’s failure to

upgrade a Washington, D.C. homeless shelter.) After being arrested for violating 36 C.F.R.

§ 50.19(e)(8)(i) and (e)(10), they filed a lawsuit “seeking to enjoin the enforcement” of those

regulations. Juluke, 811 F.2d at 1555.

        In that case, the government argued that the district court had no authority to issue

equitable relief because of pending criminal proceedings against plaintiffs. Juluke, 811 F.2d at

1556. The government makes the same argument here. Gov’t Mem. 11-14. In Juluke, the gov-

ernment relied on Younger v. Harris, which proscribed “federal court interference with state

court proceedings.” Juluke, 811 F.3d at 1556. The government again invokes Younger v. Harris

here. Gov’t Mem. 11-12. In that case, the D.C. Circuit “flatly reject[ed]” the argument. Juluke,

811 F.3d at 1558. The court could “find no support for . . . exten[ding] . . . Younger” “to cover

the situation in which parallel civil and criminal proceedings take place in federal court.” Id. at

1556.   “[A]ny such extension,” the Court further held, “would be flatly at odds with the

prevailing case law.”    Id. (emphasis added); see also id. at 1557 (“[Younger] cannot be




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read . . . to have required the judge [in that case] to dismiss the civil action merely because of the

existence of the criminal proceeding.” (emphasis added)). The same result is appropriate here.

       Far from merely being “influenced by federalism concerns,” as the government suggests

(at 12), “Younger, at its core, is a case about the proper relationship between federal and state

courts.” Juluke, 811 F.2d at 1556 (emphasis added). “It is a case mostly about considerations of

federalism.” Id. (emphasis added); see also Huffman v. Pursue, Ltd., 420 U.S. 592, 601 (1975)

(“Central to Younger was the recognition that ours is a system in which ‘the National

Government, anxious though it may be to vindicate and protect federal rights and federal

interests, always endeavors to do so in ways that will not unduly interfere with the legitimate

activities of the States.’ ”). Reliance on Younger was misplaced in Juluke because the injunctive

relief requested stood no chance of affecting a pending state criminal proceeding. It is misplaced

for the same reason here.

       Under Juluke, the existence of an overlapping criminal action does not preclude courts

from “consider[ing] the claim for injunctive relief ” in appropriate circumstances. 811 F.2d at

1557; see Gov’t Mem. 12-13. In Juluke, the D.C. Circuit found it proper to consider a civil

challenge to the “structures and parcels regulations” the plaintiffs were charged with violating

because the plaintiffs “sought to enjoin future arrests for violations of th[os]e structures and

parcels regulations.” 811 F.2d at 1557 (emphasis added). Because of that threatened future

harm, “adjudication of the criminal cases” would not “afford them adequate relief.”                Id.

(emphasis added); see Doran v. Salem Inn, Inc., 422 U.S. 922, 930-31 (1975) (Younger does not

apply “[i]n the absence of ” an “ongoing state criminal proceeding”).

       Juluke makes this an a fortiori case. Mr. Manafort does not seek to enjoin the “existing

prosecution” in this District. He seeks to set aside an ultra vires Appointment Order that




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subjects him to the threat of investigation after investigation, seizure after seizure, in jurisdiction

after jurisdiction, so long as the Special Counsel deems them to have “arisen” out of the

investigation. The decree granting Mr. Manafort that relief might have an effect on the Special

Counsel’s willingness and ability to proceed with the existing prosecution. But that does not

distinguish Juluke: Invalidation of the regulations at issue there likewise would have forestalled

arrests and prosecution for their violation; that is precisely why the government sought to

foreclose the civil suit. But the D.C. Circuit held it was appropriate to consider equitable relief

nonetheless.

       That is not to say that Younger is irrelevant. As Juluke makes clear, Younger is relevant

insofar as it reflects the “general principle[ ] of equity jurisprudence” that “courts of equity

should not act, and particularly should not act to restrain a criminal prosecution, when the

moving party [1] has an adequate remedy at law and [2] will not suffer irreparable injury” absent

equitable relief.   811 F.2d 1557 (emphasis added) (internal quotation marks omitted).              As

explained below, the government’s proposed legal relief—moving to dismiss a particular

indictment—is anything but adequate. See pp. 16, 31-32, infra. To the contrary, relegating the

defendant to seeking relief in a particular criminal case is patently insufficient to redress the

repeated exercise of unlawful authority—whether that is unlawful arrests as in Juluke or

impositions through investigative and prosecutorial authority as here. See Juluke, 811 F.2d at

1557 (“Nor could adjudication of the criminal cases afford them adequate relief.”). And the

government does not address irreparable harm at all.

       2.      Ignoring Juluke, the government relies almost entirely on Deaver v. Seymour, 822

F.2d 66 (D.C. Cir. 1987), decided months after Juluke. Contrary to the government’s position,

Deaver does not hold that “Younger applies to federal investigations and prosecutions.” Gov’t




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Mem. 13. Nor could it have, as Juluke held precisely the opposite. See Davis v. Dep’t of Justice,

610 F.3d 750, 753 (D.C. Cir. 2010) (three-judge panel cannot overrule another three-judge

panel). In Deaver, the target of an independent counsel investigation sought to challenge the

constitutionality of the independent counsel provisions of the Ethics in Government Act, 28

U.S.C. §§ 49, 591-98, by filing “a civil complaint in federal district court seeking declaratory and

injunctive relief from [the] independent counsel[’s] continued exercise of prosecutorial author-

ity.” Deaver, 822 F.2d at 66. After a nine-month investigation into Deaver’s lobbying activities,

the independent counsel had informed Deaver that “he was about to ask the grand jury to return

an indictment.” Id. at 67. “The next day,” Deaver filed his complaint and “moved to enjoin

preliminarily [the independent counsel’s] efforts to obtain an indictment, contending that

immediate and irreparable harm would befall him if equitable relief were not granted.” Id.

(emphasis added). The district court granted a temporary restraining order but denied the

preliminary injunction. Id. at 68. It reasoned that a motion to dismiss the indictment under

Federal Rule of Criminal Procedure 12(b)(1) provided an adequate remedy at law, that Deaver

was unlikely to succeed on the merits of his constitutional challenge, and that the “public interest

required that any possible violations of the criminal law be speedily prosecuted.” Id.

       The D.C. Circuit affirmed, ruling that Deaver had “no right to an injunction restraining a

pending indictment in a federal court.” Deaver, 822 F.2d at 68. Far from holding that Younger

applies in the federal context, the D.C. Circuit made clear that, because “the Younger line of

cases constricts federal intervention in state prosecutions, it does not necessarily control a

petition for a federal civil injunction to restrain an ongoing federal criminal proceeding.” Id. at

69 (emphasis added) (citing Juluke, 811 F.2d at 1556-57). Instead, the problem with Deaver’s

request for injunctive relief was that it was brought to interfere with one specific pending case,




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where Deaver had an adequate remedy at law. See id. Because Deaver could obtain the same

relief—i.e., dismissing the imminent indictment—through a motion under Federal Rule of

Criminal Procedure 12(b)(1), he had an “adequate, although limited, opportunit[y] . . . to

challenge shortcomings in prosecutorial authority.” Deaver, 822 F.2d at 71.

       That fact distinguishes Deaver from this case. Mr. Manafort does not in this action seek

to enjoin or dismiss the ongoing criminal action against him—the broadest relief he could obtain

under Rule 12(b)(1). Such relief, moreover, would not be adequate. Nothing prevents the

Special Counsel from subjecting Mr. Manafort to multiple investigations, in multiple

jurisdictions, on multiple matters.    Indeed, that is precisely what the Special Counsel has

threatened. The only remedy that would be adequate in this context is one that directly addresses

whether the Special Counsel has legal jurisdiction and authority—or whether his purported

appointment exceeded the DOJ’s authority under its own regulations.              Dismissal of one

indictment would be no relief, as the Special Counsel could simply continue to exert his ultra

vires authority over Mr. Manafort by bringing charges in different districts.3

       3.      The government’s laundry list of additional cases (at 14-15 & n.3) offers it no

further support. For example, in In re Al-Nashiri, 835 F.3d 110 (D.C. Cir. 2016), the court of

appeals addressed only the propriety of federal-court interference with the Guantánamo Bay

military commissions, which were established by Congress in the wake of the September 11

terrorist attacks. Id. at 114-15, 118-28. Central to the D.C. Circuit’s analysis was “whether an

‘important countervailing interest’ permits a federal court to decline to adjudicate a defendant’s


3
  For similar reasons, the government errs in invoking several district-court decisions to support
its claim that “unwavering” precedent applies Younger abstention in this context. See Gov’t
Mem. 14 n.3. Those cases, like Deaver, are entirely inapt: They all involve efforts to enjoin a
single, ongoing criminal indictment, not to redress a threatened exercise of ultra vires authority
across a broad spectrum of jurisdictions and matters.


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pretrial claim that a military commission lacks subject matter jurisdiction to try his offense.” Id.

at 124. The D.C. Circuit concluded that a “vital interest” did counsel against such interference:

“the need for federal courts to avoid exercising their equitable powers in a manner that would

unduly impinge on the prerogatives of the political branches in the sensitive realm of national

security.” Id. (emphasis added); see also id. at 125 (“In the realm of national security, the

expertise of the political branches is at its apogee.”). The weighty national-security concerns at

the root of the D.C. Circuit’s decision in Al-Nashiri are in no way implicated here.4

       Finally, even in the context where Younger is relevant—where parties seek to enjoin state

prosecutions—the Supreme Court has excluded cases “where there is a showing of ‘bad faith’ or

‘harassment’ by state officials responsible for the prosecution.” Kugler v. Helfant, 421 U.S. 117,

124 (1975) (quoting Younger, 401 U.S. at 49). As noted above, so long as the ultra vires

Appointment Order remains in place, the Special Counsel can continue to investigate and pursue

new charges against Mr. Manafort in different districts for conduct that long predates the 2016

presidential election. The Special Counsel has made clear that he intends to do just that. See

p. 2, supra. For that reason, too, Younger abstention does not apply. See, e.g., Phelps v.

Hamilton, 59 F.3d 1058, 1065 (10th Cir. 1995) (exception to Younger applies where prosecution

was “conducted in such a way as to constitute harassment and an abuse of prosecutorial

discretion, typically through the unjustified and oppressive use of multiple prosecutions”). Thus,

even if Younger applied to the parallel civil and criminal proceedings in federal court (which it

4
  In re Sealed Case, 829 F.2d 50 (D.C. Cir. 1987), is even further afield. See Gov’t Mem. 19.
That case did not involve a separate suit for civil injunctive relief—or an analysis of Younger. It
was an appeal from a contempt order for refusing to comply with a grand jury subpoena issued
pursuant to an independent counsel investigation. See 829 F.2d at 53-54, 62. The witness had
refused to comply with the subpoena, urging that the independent counsel’s appointment was
unlawful. See id. at 53-54. The D.C. Circuit held that the only ripe issue was “the lawfulness of
the specific subpoena issued,” not the “other investigative or prosecutorial actions [the
independent counsel] may undertake.” Id. at 62.


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does not), and even if Younger extended beyond the context of a single, ongoing criminal

proceeding (which it does not), the threat of multiple prosecutions that Mr. Manafort faces at the

hands of an ultra vires prosecutor would bar the application of Younger abstention here.

       Eighty years ago, the Supreme Court set forth the relevant rule: “Equity jurisdiction may

be invoked when it is essential to the protection of the rights asserted, even though the

complainant seeks to enjoin the bringing of criminal actions.” Shields v. Utah Idaho Cent. R.R.

Co., 305 U.S. 177, 183 (1938) (emphasis added) (collecting cases). That the relief sought here

might affect contemplated or pending criminal prosecutions thus does not preclude this Court’s

review. If Mr. Manafort satisfies “the traditional test for . . . equitable relief,” it should be

granted. Juluke, 811 F.2d at 1557. The government, however, does not expressly address that

test, much less assert that this Court can resolve it on the pleadings.5 When the issue does arise,

Mr. Manafort anticipates that he will be able show an entitlement to equitable and declaratory

relief with respect to the ultra vires Appointment Order.

       B.      The Government’s Appeal to Other “Fundamental Principles” Fails

       The government’s effort to invoke other “fundamental principles” (at 14) falls short as

well. At the outset, the government urges that review here would be contrary to the Federal

Rules of Criminal Procedure, including Rule 12. Gov’t Mem. 14-15. But the Rules of Criminal

Procedure existed when Juluke was decided; the D.C. Circuit held that the challenge could

proceed nonetheless. The D.C. Circuit had good reason for reaching that result: In light of the

threat of repeated arrests, invoking the criminal process would have provided virtually no

5
  The government’s arguments for dismissal of the APA claim overlap with traditional equitable
considerations insofar as the government claims that Mr. Manafort has an adequate remedy at
law. Gov’t Mem. 20-21. But the government is wrong about that for the reasons given below:
The government’s proposed alternative, moving to dismiss the pending indictment, would offer
Mr. Manafort no relief against new charges the Special Counsel may file against him in this
Court or another federal district court. See pp. 31-32, infra.


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remedy at all. See pp. 13-14, supra. Similarly compelling reasons require the same result here.

See p. 16, supra. In all events, the APA allows parties to seek relief under its provisions “in the

absence” of a statutory alternative or the “inadequacy thereof.” 5 U.S.C. § 703. That was the

case in Juluke and, as explained below, that is the case here as well. See pp. 31-32, infra.

          The government fares no better in asserting that this action would “undermine the final

judgment rule.” Gov’t Mem. 15. Ordinarily, a Rule 12 motion in a criminal proceeding is not

immediately appealable.      Id.   But Mr. Manafort does not seek dismissal of the pending

indictment.     There is thus no risk of end-running the final-judgment rule.        Moreover, the

government’s final-judgment-rule argument too runs headlong into Juluke, which allowed a civil

action like this one to proceed. Moving to dismiss the indictment would not provide adequate

relief because it would not prevent the continued exercise of ultra vires investigative and

prosecutorial authority.

          Finally, the government appeals to “inter-branch comity.” Gov’t Mem. 16. But the

prospective relief sought in the Complaint raises no more concerns about comity than Juluke did.

And the principles of prosecutorial discretion the government invokes (at 16) have no relevance

at all.     Properly appointed, government prosecutors have wide—though not unlimited—

discretion in the exercise of their authority. See United States v. Armstrong, 517 U.S. 456, 464-

66 (1996) (noting exceptions to prosecutorial discretion). But the question here is not whether

there is a proper exercise of discretion. It is whether the authority the Special Counsel purports

to wield can be—or has been—granted. One cannot appeal to the prosecutor’s “discretion”

when the question is whether the prosecutor has legal authority at all. Nor should there be any

concern about intra-judicial comity. Gov’t Mem. 16. This suit and the criminal action are




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pending in the same court. And the prospective relief sought here does not encompass dismissal

of the already-issued indictment.

II.    THE COMPLAINT STATES A CLAIM UNDER THE APA

       Alternatively, the government urges that the Complaint does not meet the prerequisites

for a claim under APA. Those contentions fail as well.

       A.      Mr. Manafort Has Standing Sufficient To Support a Claim Under the APA

       The government insists that, as a threshold matter, Mr. Manafort does not have

“standing” to bring an APA action. The argument is difficult to fathom: Mr. Manafort (a) is

adversely affected or aggrieved, and (b) has suffered legal wrong within the meaning of the

APA. Each of those is independently sufficient to establish standing. The government mis-

applies the “adversely affected or aggrieved” test, and completely ignores the “legal wrong” test.

       1.      The government begins by asserting that a plaintiff claiming to be “adversely

affected or aggrieved” must assert an injury that “fall[s] within the zone of interests” of the

relevant legal provisions. See Gov’t Mem. 24-25. But the government misapplies the “zone of

interests” test. That test “ ‘is not meant to be especially demanding.’ ” Match-E-Be-Nash-She-

Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012) (quoting Clarke v. Sec.

Indus. Ass’n, 479 U.S. 388, 399 (1987)); see also Amgen, Inc. v. Smith, 357 F.3d 103, 111 (D.C.

Cir. 2004) (“There is a ‘strong presumption that Congress intends judicial review of

administrative action . . . .’ ” (quoting Bowen v. Mich. Acad. of Fam. Physicians, 476 U.S. 667,

670 (1986))). Indeed, the zone of interest test does not “require any ‘indication of congressional

purpose to benefit the would-be plaintiff.’ ” Match-E-Be-Nash-She-Wish Band of Pottawatomi

Indians, 567 U.S. at 225 (quoting Clarke, 479 U.S. at 399-400). The government thus flatly errs

when it insists (at 31) on evidence that the law was “inten[ded] to benefit” the complainant. The

“test forecloses suit only when a plaintiff ’s ‘interests are so marginally related to or inconsistent


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with the purposes implicit in the statute that it cannot reasonably be assumed that Congress

intended to permit the suit.’ ” Id. (emphasis added) (quoting Clarke, 479 U.S. at 399). “[T]he

benefit of any doubt goes to the plaintiff.” Id. Here, the government cannot show that Mr.

Manafort’s interests are “so marginally related to or inconsistent” with the provisions he invokes

as to deprive him of standing.

       To the contrary, the interests Mr. Manafort seeks to protect reside in the heartland of the

laws he invokes. The Special Counsel Regulations at issue here were enacted to ensure political

accountability. See generally Dick Thornburgh, Mark H. Tuohey III & Michael Davidson,

Attorney General’s Special Counsel Regulations, BROOKINGS (Sept. 15, 1999). They were

enacted in response to the lack of accountability, and resulting abuses, that arose under the prior

independent counsel regime. See id. For that reason, they require any special counsel to be

appointed by politically accountable federal officers.         See 28 C.F.R. § 600.1 (requiring

appointment by “[t]he Attorney General, or in cases in which the Attorney General is recused,

the Acting Attorney General”). They require the original jurisdiction granted to be “specific”

and limited in scope. Id. § 600.4(a). And they require any expansions of jurisdiction to be

granted by a politically accountable official following consultation—as opposed to being granted

ex ante, to be exercised at will by the special counsel himself. See id. § 600.4(b).

       There can be no serious argument that the target of an ultra vires special counsel

investigation—one that is lacking the supervision and accountability those provisions are

designed to ensure—is beyond the zone of interests those provisions are designed to protect.

Precedent says the opposite: The D.C. Circuit has repeatedly and resoundingly ruled that, when

an individual is subject to adverse action by a federal officer, he has standing to challenge the

validity of that person’s appointment. Thus, in Andrade v. Lauer, 729 F.2d 1475 (D.C. Cir.




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1984), the court held that plaintiffs could assert an Appointments Clause challenge to “object to

their having been fired by government officials who were constitutionally disqualified from

exercising power over them.” Id. at 1495. That makes sense: The Appointments Clause (like

the provision at issue here) protects individual liberty by ensuring that significant actions are

taken only by officers who are properly appointed and thus answerable to publicly accountable

officials. See Edmond v. United States, 520 U.S. 651, 660 (1997) (“[T]he Appointments Clause

was designed to ensure public accountability for both the making of a bad appointment and the

rejection of a good one.”). For similar reasons, the Supreme Court has held that parties subject

to adverse action by federal officials can bring separation-of-powers challenges based on the

inadequacy of their appointment, control, and supervision. See, e.g., Buckley v. Valeo, 424 U.S.

1, 117-18 (1976) (Because “litigants with sufficient concrete interests at stake may have standing

to raise constitutional questions of separation of powers with respect to an agency designated to

adjudicate their rights,” the “appellants’ claims as they bear upon the method of appointment of

the Commission’s members may be presently adjudicated.”).

       The Supreme Court and the D.C. Circuit thus regularly entertain arguments, by

investigation targets, that the actions against them are improper because they were undertaken by

defectively appointed or supervised officers. See, e.g., Free Enter. Fund v. Pub. Co. Accounting

Oversight Bd., 561 U.S. 477, 487 (2010) (challenge by “Nevada accounting firm” subject to

“formal investigation” by the Public Company Accounting Oversight Board, “argu[ing] that the

[enabling statute] contravened the separation of powers by conferring wide-ranging executive

power on Board members without subjecting them to Presidential control”); Morrison v. Olson,

487 U.S. 654, 668 (1988) (separation-of-powers and Appointments Clause challenges by target

of independent counsel investigation); Freytag v. Comm’r, 501 U.S. 868, 871 & n.1 (1991)




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(Appointments Clause challenge by targets of “multimillion dollar tax shelter case”); Shays v.

FEC, 414 F.3d 76, 83 (D.C. Cir. 2005) (finding it “self-evident that Plaintiffs meet the ‘zone of

interests’ test” because they were “targets of [the] regulation”). As the target of an ultra vires

special counsel investigation undertaken by an improperly appointed special counsel, Mr.

Manafort clearly has standing to challenge that appointment. The government can make the

contrary argument only by ignoring a long line of precedent—and the interests served by its own

regulations.

       The government’s claim that Mr. Manafort lacks standing, moreover, is impossible to

reconcile with the government’s contention (at 14, 19-21, 30) that Mr. Manafort has an

alternative remedy because he can raise this issue in the context of a criminal prosecution. If Mr.

Manafort would have standing to raise the issue there, it is hard to see why he would lack

standing here. “Congress’s ‘evident intent’ when enacting the APA” was “ ‘to make agency

action presumptively reviewable.’ ” Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians,

567 U.S. at 225. The government inverts that presumption.

       2.      The government’s argument mostly reduces to the assertion that “[Mr.] Manafort

cannot rely on the Special Counsel regulations . . . to satisfy the zone of interest test” because

they are “regulations,” not a statute. Gov’t Mem. 25. That contention is mistaken. Courts

regularly conclude that aggrieved plaintiffs have standing when they challenge an agency’s

violation of the regulations it enacted to implement a statutory regime. See N.Y. Tel. Co. v. Sec’y

of Army, 657 F. Supp. 18, 20-21 (D.D.C. 1986) (“Plaintiff has standing to challenge the [agency

action] if it establishes . . . that the injury is one arguably within the zone of interests protected

by the applicable statutes and regulations . . . . Plaintiff ’s alleged injury . . . falls within the

protection of the statutes and regulations it suggests are applicable.” (emphasis added)); McNutt




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v. Hills, 426 F. Supp. 990, 998 n.19 (D.D.C. 1977) (plaintiff “is, without question, within the

zone of interests intended to be protected by the statutes and regulations involved in this case

which forbid and combat employment discrimination” (emphasis added)).

       The D.C. Circuit regularly entertains suits where the agency violates not a statute but the

agency’s own regulations. See, e.g., Mistick PBT v. Chao, 440 F.3d 503, 508 (D.C. Cir. 2006).

Because “ ‘an agency is bound by its own regulations,’ ” Erie Boulevard Hydropower, LP v.

FERC, 878 F.3d 258, 269 (D.C. Cir. 2017) (quoting Nat’l Envtl. Dev. Ass’n’s Clean Air Project

v. EPA, 752 F.3d 999, 1009 (D.C. Cir. 2014)), “an agency action may be set aside” under the

APA “if the agency fails to ‘comply with its own regulations,’ ” Nat’l Envtl. Dev., 752 F.3d at

1009 (quoting Environmentel, LLC v. FCC, 661 F.3d 80, 85 (D.C. Cir. 2011)); see also Erie

Boulevard, 878 F.3d at 269; Friedler v. Gen. Servs. Admin., 271 F. Supp. 3d 40, 60-61 (D.D.C.

2017); Fuller v. Winter, 538 F. Supp. 2d 179, 186-91 (D.D.C. 2008); Croddy v. FBI, Civil Action

No. 00-651 (EGS), 2006 WL 2844261, at *6 (D.D.C. Sept. 29, 2006). A fortiori a suit is proper

when the agency purports to exercise authority that, under its own regulations, it does not have.

       The government’s effort to distinguish agency regulations from the statute those

regulations implement defies the nature of agency authority:          When agencies promulgate

regulations that have the force and effect of law, they construe and implement the statute

Congress has entrusted to them for administration. See Chevron, U.S.A., Inc. v. Nat. Res. Def.

Council, Inc., 467 U.S. 837, 843-44 (1984) (“If Congress has explicitly left a gap for the agency

to fill, there is an express delegation of authority to the agency to elucidate a specific provision




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of the statute by regulation.”). The agency’s violation of its own regulations is also a violation of

the agency’s own view of the statute.6

       For that reason, the government’s further contention that the relevant statutes (28 U.S.C.

§ 501 et seq.) do not encompass Mr. Manafort’s interests is both irrelevant and mistaken. The

DOJ’s Special Counsel Regulations represent the DOJ ’s implementation of those statutes. Its

decision to restrict appointment authority under those statutes, so as to ensure accountability,

demonstrates that the interest of political accountability—and the protection it offers against

over-reaching—are not so removed from the statutory goals as to be “marginal” or “contrary” to

them. Thus, while those statutes may give the Attorney General affirmative authority to retain

and direct counsel, the government cannot suggest that they were intended to promote

unaccountability and over-reaching. Its own implementation, through regulations that seek to

ensure political accountability, is to the contrary.

       3.      In all events, the APA establishes two categories of persons entitled to seek

judicial review: Relief may be sought by any person “[1] suffering legal wrong because of

agency action, or [2] adversely affected or aggrieved by agency action.”             5 U.S.C. § 702

(emphasis added). The government wholly ignores the first category—persons suffering “legal

wrong.” As Congress made clear when enacting the APA, “the category described as ‘any

person suffering legal wrong because of any agency action” includes any person who has

6
  The government’s cases (at 25) are not to the contrary. In National Federation of Federal
Employees v. Cheney, 883 F.2d 1038 (D.C. Cir. 1989), the plaintiffs attempted to rely on a non-
binding OMB Circular to bring suit against a different agency, the Department of the Army. See
id. at 1043. Likewise, in American Federation of Government Employees v. Rumsfeld, 321 F.3d
139 (D.C. Cir. 2003), the plaintiff sought to enforce OPM regulations against a different agency,
the United States Army. See id. at 144-45. Neither case establishes that an action fails the zone
of interests test when an agency violates its own regulations. And Town of Stratford, Conn. v.
FAA, 285 F.3d 84 (D.C. Cir. 2002), is even further afield. In that case, the regulations did not
protect the plaintiffs’ alleged interests at all, id. at 89, and any discussion of whether regulations
were relevant to the zone of interests test was unnecessary to the decision.


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suffered “an injury,” “a tort,” or “a violation of legal right.” 92 Cong. Rec. 2153 (1946). It thus

“signifies an injury committed to the person or property of another.” Id.

       The “person suffering legal wrong” formulation reflects a longstanding tradition,

predating the APA, of judicial review for cases where, but for the claim of governmental

authority, the official’s conduct would “invade[ ]” a right “of property” or “one protected against

tortious invasion.” Tenn. Elec. Power Co. v. TVA, 306 U.S. 118, 137 (1939); see, e.g., Am.

School of Magnetic Healing v. McAnnulty, 187 U.S. 94, 108, 110-11 (1902); Noble v. Union

River Logging Co., 147 U.S. 165, 171-72 (1893); Cunningham v. Macon & Brunswick R.R. Co.,

109 U.S. 446, 452 (1883). This case falls squarely within those precedents. Among other things,

the Special Counsel searched Mr. Manafort’s home and seized many of his possessions. See

Compl. ¶ 42; see also id. ¶¶ 49, 58, 65 (“invasion of his privacy,” including “unconsented entry

into his home”). Whatever else the phrase “a person suffering legal wrong” may encompass, it

surely includes someone who has been subjected to such an invasion of property and privacy

rights by an individual alleged to lack legal authority to do so. Nothing stops the Special

Counsel from taking further ultra vires actions, including executing additional search warrants

and seizing property, as part of a continuing investigation. If Mr. Manafort has not alleged he

suffered legal wrong here, it is hard to imagine who could.

       While arguing that Mr. Manafort lacks standing under APA, the government nowhere

addresses the “legal wrong” category. It does not claim that, taking the Complaint’s allegations

as true, Mr. Manafort has identified no legal injury sufficient to satisfy that standard. For the

reasons given above, any such argument must fail. Further, because the government ignored an

entire basis for statutory standing in its motion to dismiss, the issue is waived. The government

cannot choose to address only one of the two categories of persons with standing in its motion to




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dismiss, and address the other category for the first time in reply. See Rollins Envtl. Servs. v.

EPA, 937 F.2d 649, 653 n.2 (D.C. Cir. 1991) (“Issues may not be raised for the first time in a

reply brief.”).

        B.        APA Review Is Available To Address Actions Taken Without Legal
                  Authority and in Excess of Jurisdiction

        The government’s related argument, that the Special Counsel Regulations do not “create

any rights . . . enforceable at law or equity,” fares no better. Gov’t Mem. 23 & n.7. That argu-

ment misunderstands the nature of this suit. Mr. Manafort does not claim that the regulations

give him rights he may assert against the government. He does not seek to correct a government

error in its administration of law. He has filed this action because the relevant regulations deny

the Acting Attorney General authority to issue Paragraph (b)(ii) of the Appointment Order. This

suit is premised not on the violation of regulations but the absence of power—lack of

jurisdiction—under them.

        The Supreme Court explained that distinction long ago in Larson v. Domestic & Foreign

Commerce Corp., 337 U.S. 682 (1948). There, the Supreme Court emphasized that federal

courts have long stood ready to provide review (notwithstanding claims of sovereign immunity)

where federal officers or agencies are alleged to have been “acting in excess of . . . authority or

under an authority not validly conferred.” Id. at 691; see id. at 691-92 (distinguishing actions

“based upon any lack of delegated power” from actions that challenge agency action as “illegal,”

“whether or not it be within” the officer’s “delegated powers”). That describes precisely this

case: The essence of this suit is that the authority the Special Counsel purports to be exercising

was “not validly conferred” and that the Special Counsel is “acting in excess” of his authority as

a result. Such allegations were a sufficient basis for review in the cases cited by Larson. Id. at

692. They should be sufficient here as well. Cf. Griffith v. Fed. Labor Relations Auth., 842 F.2d



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487, 492 (D.C. Cir. 1988) (identifying “exception” to preclusion of review when “agenc[ies]

act[ ] in excess of [their] jurisdiction”); Leedom v. Kyne, 358 U.S. 184, 190 (1958) (Court will

not “lightly infer” that Congress intended to afford no “judicial protection of rights . . . against

agency action taken in excess of delegated powers”).

       The government thus misses the point when (at 23) it invokes the disclaimer, at the end

of the Special Counsel Regulations, that the regulations are not intended to “create any

rights . . . enforceable at law or equity.” 28 C.F.R. § 600.10. The question here is not whether

Mr. Manafort somehow has rights under the Special Counsel Regulations. The question is

whether the regulations gave the Acting Attorney General authority to issue the Appointment

Order he issued—Paragraph (b)(ii) in particular—and thus whether the Special Counsel has the

authority he purports to exercise. If the DOJ had intended to foreclose that challenge, it would

have had to write § 600.10 very differently.

       The government argues that, “[i]n similar circumstances, the D.C. Circuit and other

courts in this District have held that internal DOJ guidelines—e.g., the United States Attorneys’

Manual—do not confer any rights on private parties and are therefore not enforceable.” Gov’t

Mem. 23 (emphasis added). But there is a reason “internal DOJ guidelines,” like the U.S.

Attorneys’ Manual, are not enforceable. They are merely guidelines that, lacking the force and

effect of law, do not bind even the agency. See, e.g., Chiron Corp. & PerSeptive Biosystems,

Inc. v. Nat’l Transp. Safety Bd., 198 F.3d 935, 943-44 (D.C. Cir. 1999) (“Guidance is not a

source of law” enforceable against NTSB.); Batterton v. Marshall, 648 F.2d 694, 702 n.34 (D.C.

Cir. 1980) (“An internal agency ‘practice or procedure’ is primarily directed toward improving

the efficient and effective operations of an agency, not toward a determination of the rights [or]

interests of affected parties.”); Pac. Gas & Elec. Co. v. Fed. Power Comm’n, 506 F.2d 33, 38




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(D.C. Cir. 1974) (agency’s “general statement of policy . . . is merely an announcement to the

public of the policy which the agency hopes to implement in future rulemakings or

adjudications”).

       The Special Counsel Regulations, by contrast, are regulations. Far from being non-

binding guidelines, they have the force and effect of law.         They are the agency’s “own

regulations,” which it is “bound” to follow. Erie Boulevard, 878 F.3d at 269; see also Esch v.

Yeutter, 876 F.2d 976, 991 & n.163 (D.C. Cir. 1989) (“It is well settled that an agency is legally

bound to respect its own regulations . . . .”); Cal. Human Dev. Corp. v. Brock, 762 F.2d 1044,

1048 n.28 (D.C. Cir. 1985) (“[I]f an agency decides to promulgate rules, then it is bound by its

own regulations even if the action of the agency was discretionary.”); Nat’l Constructors Ass’n v.

Marshal, 581 F.2d 960, 969 n.18 (D.C. Cir. 1978) (“Administrative agencies are legally bound

by their own regulations.”). Agency regulations are no less binding simply because they limit

the agency’s authority. See, e.g., Service v. Dulles, 354 U.S. 363, 373-74 (1957) (finding

regulations binding where the agency adopted the regulations to limit its discretion).

       Here, the DOJ promulgated the Special Counsel Regulations to limit authority and

thereby ensure accountability. The DOJ sought to avoid the pitfalls of the independent counsel

statute and its establishment of “unaccountable prosecutors wielding infinite resources whenever

there is a plausible allegation of a technical crime.” Gerard E. Lynch, The Problem Isn’t in the

Starrs But in a Misguided Law, WASH. POST, Feb. 22, 1998, at C3. To protect against such

abuses going forward, the DOJ’s Special Counsel Regulations were the product of that careful,

deliberate effort to ensure that private attorneys would not wield unlimited authority when

conducting investigations. Dick Thornburgh, Mark H. Tuohey III & Michael Davidson, Attorney

General’s Special Counsel Regulations, BROOKINGS (Sept. 15, 1999). There is no suggestion




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anywhere in those regulations that they were meant merely to be non-binding, friendly advice.

Provision after provision is to the contrary.7

       C.       The Complaint Challenges Final Agency Action

       The Complaint also challenges “final agency action” within the meaning of the APA.

Agency action is considered “final” if it meets two requirements. “First, the action must mark

the ‘consummation’ of the agency’s decisionmaking process.” Appalachian Power Co. v. EPA,

208 F.3d 1015, 1022 (D.C. Cir. 2000) (quoting Chi. & S. Air Lines, Inc. v. Waterman S.S. Corp.,

333 U.S. 103, 113 (1948)). “And second, the action must be one by which ‘rights or obligations

have been determined,’ or from which ‘legal consequences will flow.’ ” Id. (quoting Port of Bos.

Marine Terminal Ass’n v. Rederiaktiebolaget Transatlantic, 400 U.S. 62, 71 (1970)); see also

Nat’l Ass’n of Home Builders v. Norton, 415 F.3d 8, 15 (D.C. Cir. 2005) (agency action is “final”

“if the practical effect of the agency action is . . . a certain change in the legal obligations of a

party”).

       The Appointment Order readily satisfies both conditions.           The Appointment Order

conclusively handed the investigation of Russian efforts to interfere in the 2016 presidential

election to the Special Counsel, granting him “authority to investigate” alleged coordination

between the Trump campaign and the Russian government. 28 C.F.R. § 600.4(a); see also id.

§§ 600.1, 600.3(a). It chose to add, on top of that authority, an improper delegation of power to

7
  For example, § 600.7 provides that a special counsel “shall comply with the rules, regulations,
procedures, practices and policies of the Department of Justice.” 28 C.F.R. § 600.7(a).
Moreover, the Appointment Order here (as well as the only other appointment order previously
issued pursuant to the Special Counsel Regulations) cites the regulations as “applicable”
requirements. Appointment Order ¶ (d); Office of the Att’y Gen., Appointment of Special
Counsel To Investigate Government Conduct Relative to Certain Events Occurring in Waco,
Texas, Order No. 2256-99 ¶ (d) (Sept. 9, 1999). Thus, there is every indication that the DOJ
intended for the Special Counsel Regulations to impose binding constraints on authority. See
Gen. Elec. Co. v. EPA, 290 F.3d 377, 383 (D.C. Cir. 2002) (“agency pronouncement” is
“binding” if it “is applied by the agency in a way that indicates it is binding”).


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investigate and prosecute any other matter arising from the investigation. Appointment Order

¶ (b)(ii).    That “mark[ed] the ‘consummation’ of the agency’s decisionmaking process” on

whether and what to refer to the Special Counsel. Bennett v. Spear, 520 U.S. 154, 178 (1997)

(quoting Chi. & S. Air Lines, 333 U.S. at 113). No further decisions remain.

         Second, the Appointment Order clearly generates legal consequences. It purports to grant

a private attorney from outside the DOJ—who would otherwise lack any claim to act under color

of law—full legal authority to investigate private citizens and compel them to comply with his

investigative demands.     For individuals associated with the Trump campaign, those legal

demands were virtually guaranteed to follow, as they did for Mr. Manafort. See Compl. ¶ 42.

Thus, the “practical effect” of the Appointment Order was a “certain change” in Mr. Manafort’s

“legal obligations.” Nat’l Ass’n of Home Builders, 415 F.3d at 15.

         D.       Mr. Manafort Has No Other Adequate Remedy at Law

         Finally, contrary to the government’s contentions, Mr. Manafort has no other adequate

remedy at law. “When considering whether an alternative remedy is ‘adequate’ and therefore

preclusive of APA review,” the D.C. Circuit “look[s] for ‘clear and convincing evidence’ of

‘legislative intent’ to create a special, alternative remedy and thereby bar APA review.” Citizens

for Responsibility & Ethics in Wash. v. Dep’t of Justice, 846 F.3d 1235, 1244 (D.C. Cir. 2017)

(quoting Garcia v. Vilsack, 563 F.3d 519, 523 (D.C. Cir. 2009)).

         No such clear and convincing evidence can be gleaned from Federal Rule of Criminal

Procedure 12, which would allow Mr. Manafort to move to dismiss the indictment. See Gov’t

Mem. 20-21 & n.6. Nothing in the Federal Rules of Criminal Procedure evinces a legislative

intent to preclude APA review of final agency action even if an indictment results. Juluke is

clear on that. See pp. 12-13, supra. And nothing in the Federal Rules of Criminal Procedure




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would provide Mr. Manafort the relief he needs—relief from being continuously subjected to the

Special Counsel’s ultra vires authority.

       The Federal Rules of Criminal Procedure may be “comprehensive” with respect to a

particular criminal prosecution. Deaver, 822 F.2d at 71. But they do not provide any mecha-

nism to address the potentially perpetual exercise of ultra vires authority asserted in the

Complaint. The broadest relief that Mr. Manafort could secure in the pending criminal suit

against him is dismissal of that single proceeding. See p. 16, supra. But the Special Counsel

could continue to investigate and bring new charges against Mr. Manafort, either in this Court or

any other federal district court—as he has threatened to do. Through this civil action, Mr.

Manafort seeks relief as to those future proceedings, by having the Appointment Order set aside

in relevant part and having the Special Counsel’s conduct in excess of his lawful authority

enjoined. A motion to dismiss the indictment in the pending criminal action could not afford Mr.

Manafort that relief. See, e.g., Juluke, 811 F.2d at 1557 (“adjudication of criminal cases” could

not “afford plaintiffs adequate relief ” where “they sought to enjoin future arrests” (emphasis

added)). Nor would Mr. Manafort be able to obtain that relief by repeatedly litigating the ultra

vires nature of the Special Counsel’s authority in future criminal proceedings against him.

III.   COUNT II STATES CLAIMS FOR INJUNCTIVE RELIEF AGAINST FEDERAL OFFICIALS
       ACTING IN EXCESS OF THEIR LEGAL AUTHORITY

       Count II—which incorporates all of the allegations that precede it—seeks relief against

the Special Counsel for the exercise of ultra vires action. Count II likewise states a claim.

       A.      Count II Properly Seeks Declaratory Relief Against Ultra Vires Action

       The government begins by seeking to dismiss Count II for want of a cause of action.

According to the government, the Declaratory Judgment Act “does not by itself provide a basis




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for judicial review,” and “non-statutory review over ultra vires acts, which has previously been

described as ‘a doctrine of last resort,’ ” is not available here. Gov’t Mem. 28-29.

         1.     The government largely ignores “the long-recognized authority of the federal

courts to grant equitable relief to prevent injurious acts by public officers.” Compl. ¶ 61;

Armstrong v. Exceptional Child Ctr., Inc., 135 S. Ct. 1378, 1384 (2015). For more than a

century, plaintiffs have filed federal actions against officers in their official capacities to

proscribe conduct that violates or is unauthorized by federal law. See Ex parte Young, 209 U.S.

123 (1908). That is “true not only with respect to violations of federal law by state officials, but

also with respect to violations of federal law by federal officials.” Armstrong, 135 S. Ct. at 1384.

Under Larson, 337 U.S. at 689-90, there is a cause of action where “[a] federal officer, against

whom injunctive relief is sought, allegedly acted in excess of his legal authority.” Chamber of

Commerce of the U.S. v. Reich, 74 F.3d 1322, 1329 (D.C. Cir. 1996); see pp. 27-28, supra;

Dugan v. Rank, 372 U.S. 609, 621-22 (1963); Malone v. Bowdoin, 369 U.S. 643, 647 (1962);

Shields v. Utah Idaho Cent. R.R. Co., 305 U.S. 177, 183 (1938); Am. Sch. of Magnetic Healing,

187 U.S. at 110; Knox Hill Tenant Council v. Washington, 448 F.2d 1045, 1052 n.8 (D.C. Cir.

1971).

         Count II properly invokes that cause of action. As noted above, Count I (incorporated by

reference into Count II) alleges that the DOJ and the Acting Attorney General issued the

Appointment Order in excess of their authority under the Special Counsel Regulations. Compl.

¶¶ 52, 60. Count II in turn alleges that the Special Counsel is acting ultra vires, both because the

Appointment Order on which he relies is ultra vires and because—even assuming the

Appointment Order’s validity—he is acting in excess of the Order’s clear terms. Compl. ¶¶ 61-




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62. Under Larson, Mr. Manafort may sue to enjoin federal officers, acting in their official

capacities, from continuing to flout the bounds of their authority. 337 U.S. at 689-90.

       Because those cases create a “judicially remediable right,” relief under the Declaratory

Judgment Act, 28 U.S.C. § 2201, is available. Schilling v. Rogers, 363 U.S. 666, 677 (1960);

see, e.g., Mich. Corr. Org. v. Mich. Dep’t of Corr., 774 F.3d 895, 902 (6th Cir. 2014)

(recognizing that “a right of action under Ex parte Young” may provide “a preexisting right

enforceable in federal court” for which the Declaratory Judgment Act “create[s] a remedy”). In

addition, a plaintiff bringing suit under Larson to restrain federal officers to their lawful

authority is entitled to declaratory and injunctive relief. See, e.g., Vann v. Dep’t of the Interior,

701 F.3d 927, 928-29 (D.C. Cir. 2012) (“declaratory or injunctive relief ” available in suits

“against government officials in their official capacities”); Nat’l Audubon Soc’y, Inc. v. Davis,

307 F.3d 835, 847-48 (9th Cir. 2002) (declaratory as well as injunctive relief available in Ex

parte Young suit).

       2.      Echoing some of its objections to Count I, the government appears to argue that

the ultra vires doctrine does not apply where a party challenges “an agency’s violation of its own

internal delegations.” Gov’t Mem. 31 (emphasis added). It thus cites cases in which internal

agency officials are alleged to have exceeded their individual authority under agency rules—but

the action being challenged was within the agency’s authority nonetheless. Id. (citing Pa. Mun.

Auths. Ass’n v. Johnson, No. 04-5073, 2005 WL 2491482, at *1 (D.C. Cir. June 3, 2005)

(unpublished disposition); Exxon Chems. Am. v. Chao, 298 F.3d 464, 468 (5th Cir. 2002)).

Count II alleges something very different. As noted above, it alleges that the DOJ and the

Acting Attorney General exceeded their authority—the agency’s authority—in the Appointment

Order by extending the Special Counsel’s original jurisdiction to any new matters that might




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come to light during the course of his investigation. Compl. ¶¶ 33-35, 52, 62. For that reason

alone, the Special Counsel does not have jurisdiction over those matters. The Special Counsel

cannot exercise jurisdiction that the DOJ and Acting Attorney General cannot grant him.

Further, Count II alleges that the Special Counsel has exceeded the scope of any jurisdiction that

was lawfully granted. Id. ¶ 63. These are not allegations about “internal” delegations within the

DOJ. They concern the scope of authority exercised by an official outside the DOJ. The

government cites no case precluding an ultra vires challenge in that context.8

       3.      The government’s argument (at 32-33) that Count II does not allege a “clear,

obvious, and extreme error” suffers from a similar defect. The problem is not an error; it is an

absence of authority. See p. 27, supra. And the lack of authority is clear. As an initial matter,

the Special Counsel Regulations could not be clearer about the original jurisdiction that can be

granted. The Attorney General may grant a special counsel “[o]riginal jurisdiction” by providing

“a specific factual statement of the matter to be investigated.” 28 C.F.R. § 600.4(a) (emphasis

added). But any “additional jurisdiction” beyond that may be granted only after the special

counsel “consult[s] with the Attorney General” and after the Attorney General “determines

whether to include the additional matters within the Special Counsel’s jurisdiction or assign them

elsewhere.” Id. § 600.4(b). That measured process is designed to ensure that a politically

accountable official—the Attorney General or Acting Attorney General—is responsible for the

matters to be investigated at each step of the investigation.

       The Appointment Order is completely contrary to those regulations’ clear commands.

Paragraph (b)(i) first grants the Special Counsel “[o]riginal jurisdiction” by providing a “specific

8
  The government reprises (at 31) its argument that, under 28 C.F.R. § 600.10, the Special
Counsel Regulations create no enforceable rights. The answer to that argument is the same: Mr.
Manafort is not asserting the regulations give him rights. He is arguing that they deny the
defendants authority. See p. 27, supra.


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factual statement of the matter to be investigated,” 28 C.F.R. § 600.4(a)—“any links and/or

coordination between the Russian government and individuals associated with the campaign of

President Donald Trump,” Appointment Order ¶ (b)(i). But Paragraph (b)(ii) then purports to

grant the Special Counsel additional jurisdiction to investigate “any matters that arose or may

arise” in the course of the Special Counsel’s inquiry into allegations of coordination between the

Trump campaign and the Russian government. Appointment Order ¶ (b)(ii) (emphasis added).

That blanket provision of additional jurisdiction ab initio plainly contravenes the Special

Counsel Regulations’ requirement that further authority to investigate anything outside the

“specific factual statement of the matters to be investigated” can be granted only following

consultation with the Attorney General and the Attorney General’s authorization to pursue such

matters. 28 C.F.R. § 600.4(b). Because the DOJ and the Acting Attorney General had no

authority to grant the Special Counsel such blanket additional jurisdiction in the original

Appointment Order, the Special Counsel has no authority to exercise it. The government does

not even attempt to defend Paragraph (b)(ii) as consistent with the Special Counsel Regulations,

and with reason—the regulations are crystal clear.

       The government focuses instead (at 33) on the allegation that the Special Counsel has

gone beyond the facial scope of the Appointment Order by addressing matters that did not “arise

directly from the investigation” assigned to him. The government seems to argue that the scope

of the Special Counsel’s authority is ambiguous. See Gov’t Mem. 33-34. The Special Counsel,

it argues, was directed to take over the investigation formerly being conducted by then-FBI

Director James Comey. Id. at 33. But that ignores whether supposed tax and white-collar crimes

committed on or after January 1, 2006—more than a decade before the Trump presidential

campaign was launched—could conceivably be thought to “arise out of ” either Mr. Comey’s or




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the Special Counsel’s investigation (especially when those matters were well known to the

government before the Russia investigation began). See pp. 8-9, supra. Again, the government

offers no construction under which pre-existing matters, known to the government, could

possibly have arisen out of an investigation that started almost a decade later. Indeed, there is no

indication that the Special Counsel has ever investigated Mr. Manafort for the specific matters

within the Special Counsel’s original jurisdiction—alleged “coordination [with] the Russian

government” in connection with the 2016 presidential campaign. Appointment Order ¶ (b)(i).

The Special Counsel’s actions against Mr. Manafort could not have “arise[n] directly from” an

underlying investigation that never took place.

       B.      The Acting Attorney General’s Congressional Testimony at Most Raises
               Factual Disputes Concerning Count II That Cannot Be Resolved on a Motion
               To Dismiss

       Finally, the government attacks part of Count II on the merits, urging that the Acting

Attorney General’s congressional testimony proves that he in fact has authorized an expansion of

the Special Counsel’s jurisdiction.     Gov’t Mem. 34.       But the Acting Attorney General’s

testimony at most raises factual disputes.

       As an initial matter, the government does not—and cannot—argue that the testimony has

any relevance to the validity of the Appointment Order and its scope (including Paragraph (b)(ii)

in particular). Instead, the government urges (at 34) that the Acting Attorney General testified

that he approved the Special Counsel’s conduct in the pending criminal proceeding, expanding

his jurisdiction. But that particular prosecution is not at issue here. See p. 11 & n.2, supra. And

the cited testimony is procedurally and substantively insufficient in any event.

       As a matter of procedure, the government cannot simply append congressional testimony

to a motion to dismiss and ask the Court to accept the testimony as true. The fact of the

testimony may be judicially noticeable. But the Court cannot be asked to judicially notice as


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“true” out-of-court statements that are nowhere incorporated into the Complaint, much less to do

so for the benefit of the moving party. Cabrera v. Schafer, 178 F. Supp. 3d 69, 73 (E.D.N.Y.

2016) (“ To take judicial notice of such testimony at this juncture would . . . cut off any attempt

by the Plaintiff to introduce information to rebut the truth of that testimony and the import of its

meaning to this case.”); Columbia Cas. Co. v. Neighborhood Risk Mgmt. Corp., No. 14-cv-0048

(AJN), 2015 WL 3999192, at *4 (S.D.N.Y. June 29, 2015) (“[I]t is improper to take judicial

notice of . . . testimony for the truth of its contents (as opposed to the existence of such

testimony) . . . .”); Bello v. Howard Univ., 898 F. Supp. 2d 213, 223 n.5 (D.D.C. 2012) (taking

judicial notice of “the fact that [an individual] testified at [another] procceding[ ]” but not “for

the truth of the matters asserted” in the testimony).

       Substantively, the Acting Attorney General’s testimony is wholly ambiguous, repeatedly

eliding the distinction between the Special Counsel’s original jurisdiction and additional

jurisdiction. For example, when asked multiple times whether he ever “expand[ed] the scope of

the original jurisdiction” set out in the Appointment Order, the Acting Attorney General testified

that he did not know the answer. Hearing Before the H. Comm. on the Judiciary, 115th Cong.

31 (2017) (statement of Rod J. Rosenstein, Acting Att’y Gen. of the United States) (“I’ll need to

check and get back to you as to whether or not we considered particular issues to be a

clarification [of the Special Counsel’s original jurisdiction] or an expansion.”). The Acting

Attorney General’s uncertainty as to the nature of the authorization highlights critical questions

about when, if at all, he granted the Special Counsel additional jurisdiction, as well as what that

additional jurisdiction may have encompassed. That is significant because the Special Counsel

Regulations preclude the Special Counsel from pursuing matters beyond his original jurisdiction

without first consulting with the Attorney General and awaiting the Attorney General’s decision.




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See 28 C.F.R. § 600.4(b).    If the Court wishes to consider the Acting Attorney General’s

testimony, it must allow for proper development of the record. It cannot pretermit the process by

judicially noting ambiguous extra-judicial testimony and deeming it dispositive.

                                        CONCLUSION

       For the foregoing reasons, the motion to dismiss should be denied.


Dated: February 16, 2018                                   Respectfully submitted,


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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


                                             )
PAUL J. MANAFORT, JR.,                       )
                                             )
                      Plaintiff,             )
                                                          Civ. No. 1:18-CV-00011-ABJ
                                             )
                 v.                          )
                                                          Judge Amy Berman Jackson
                                             )
UNITED STATES DEPARTMENT OF                  )
JUSTICE, et al.,                             )
                                             )
                      Defendants.            )
                                             )




                                    [Proposed] ORDER

      Upon consideration of defendants’ motion to dismiss, plaintiff’s opposition to that

motion, and any reply thereto, it is hereby ORDERED that defendants’ motion is DENIED.

      SO ORDERED.




Dated: ___________________                             ___________________________
                                                       AMY BERMAN JACKSON
                                                       United States District Judge
